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        Attorney(s) for Digital Verification Systems, LLC
    6
                        IN THE UNITED STATES DISTRICT COURT
    7
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
    8
         DIGITAL VERIFICATION
    9    SYSTEMS, LLC,                               CASE NO.: 2:22-cv-01354-MCS-RAO
   10
                            Plaintiff,                 PATENT CASE
   11
         v.
   12
         RPOST US, INC.,                               JOINT STIPULATION OF
   13
                                                       DISMISSAL
   14
                            Defendant.

   15

   16
              Plaintiff Digital Verification Systems, LLC, and Defendant Rpost US, Inc., by
   17
        their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
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              1.     All claims asserted by the Plaintiff in this Action are dismissed with
   19
        prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
   20
        without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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              2.     Each party shall bear its own costs and attorneys’ fees with respect to the
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        matters dismissed hereby;
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              This Stipulation and Order shall finally resolve the Action between the parties.
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                                     JOINT STIPULATION OF DISMISSAL
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    1   Dated: September 16, 2022             Respectfully submitted,
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                                              /s/Stephen M. Lobbin
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    8                                         Attorney(s) for Plaintiff

    9                                         /s/Lewis E. Hudnell, III
   10                                         Lewis E. Hudnell, III (CASBN 218736)
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   15                                         Attorneys for Defendant
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   17                            CERTIFICATE OF SERVICE
   18
               I hereby certify that on September 16, 2022, I electronically transmitted the
   19
        foregoing document using the CM/ECF system for filing, which will transmit the
   20   document electronically to all registered participants as identified on the Notice of
        Electronic Filing, and paper copies have been served on those indicated as non-
   21
        registered participants.
   22                                         /s/ Stephen M. Lobbin
                                              Stephen M. Lobbin
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                                    JOINT STIPULATION OF DISMISSAL
